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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT
_____________________________________
                                     :
 CHRISTINA OTHON,                    :             3:18-cv-00958-KAD
             Plaintiff               :
                                     :
             v.                      :
                                     :
 WESLEYAN UNIVERSITY                 :
             Defendant               :
____________________________________ :            APRIL 10, 2019


                               MOTION FOR DEFAULT

       The Plaintiff, Christina Othon, pursuant to Rules 15 and 55 of the Federal Rules of Civil

Procedure hereby submits this Motion for Default because of Defendant’s failure to adhere to the

rules of pleading and discovery as required by Federal Rules of Civil Procedure. Defendant was

required to file an answer to the Amended Complaint by March 15, 2019, but has not done so. It

is also Plaintiff’s position that the default is warranted due to Defendant’s flagrant disregard for

this Court’s requirements with respect to Initial Discovery Protocols and the Federal Rules of

Civil Procedure as applicable to written discovery, and repeated attempts to mislead this Court.

Plaintiff submits herewith a Memorandum of Law in support of this Motion for Default.

                                                        PLAINTIFF
                                                        CHRISTINA OTHON


                                                By:     /s/ Heena Kapadia 11869
                                                        Heena Kapadia (ct11869)
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                             CERTIFICATE OF SERVICE


        I hereby certify that on the above date, Plaintiff’s Motion for Default was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.


                                      _/s/ Heena Kapadia 11869
                                      Heena Kapadia




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